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Counsel for Defendant, Counterclaimant, and Third-Party Plaintiff Bunker Hill Mining
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                       IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF IDAHO

 CRESCENT MINE, LLC,
                                                     Case No. 2:21-cv-00310-DCN
        Plaintiff,
                                                     STIPULATED MOTION TO
 vs.                                                 EXTEND BRIEFING DEADLINES

 BUNKER HILL MINING CORPORATION;
 and PLACER MINING CORPORATION
 (d/b/a New Bunker Hill Mining Co.),

         Defendants.


       The above captioned Parties, by and through their respective counsel of record, stipulate

and request that the deadlines for responding to certain pending motions be amended consistent

with the changes outlined below. Specifically, the Parties seek additional time regarding the



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response and reply deadlines for Placer Mining Corporation’s Motion for Summary Judgment on

Crescent Mine, LLC’s Claims (Dkt. 108), Placer Mining Corporation’s Motion to File Under

Seal (Dkt. 109), Bunker Hill Mining Corporation’s Motion for Summary Judgment on Crescent

Mine, LLC’s Claims (Dkt. 112), Bunker Hill Mining Corporation’s Motion to File Documents

Under Seal (Dkt. 113), Crescent Parties’ Motion for Partial Summary Judgment, filed on

December 2, 2024 (Dkt. 116), and Plaintiff Crescent Mine, LLC’s Motion to Amend Second

Amended Complaint (Dkt. 117) (collectively, the “Pending Motions”).

       Good cause exists for the requested extensions to allow necessary time to fully respond to

the Pending Motions and to accommodate scheduling conflicts due to un-related work

obligations and the upcoming holidays. Through this motion, the Parties are not seeking to

amend any deadlines set forth in the Scheduling Order filed on August 8, 2024 or its subsequent

amendments (e.g., Dkt. 104).

       The Parties therefore respectfully request that this Court grant this motion and enter an

amended scheduling order as set forth below:

           •   Responses to the Pending Motions will be due on January 10, 2025.

           •   Replies in support of Pending Motions will be due on February 7, 2025.

A proposed order is filed herewith.

       DATED this 12th day of December, 2024.

                                             HOLLAND & HART LLP

                                             By: /s/Christopher C. McCurdy
                                                 Christopher R. Hogle
                                                 Murray D. Feldman
                                                 Christopher C. McCurdy

                                             Attorneys for Defendant Bunker Hill Mining
                                             Corporation


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     DATED this 12th day of December, 2024.

                                      STOEL RIVES LLP

                                      By: /s/Wade C. Foster
                                          Wade C. Foster

                                              Maren R. Norton, admitted pro hac vice
                                              James T. Graves, admitted pro hac vice
                                              600 University Street, Suite 3600
                                              Seattle, WA 98101

                                      Attorneys for the Crescent Parties


     DATED this 12th day of December, 2024.

                                      GIVENS PURSLEY LLP

                                      By: /s/Preston N. Carter
                                          Preston N. Carter

                                              Morgan D. Goodin
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                                      Attorneys for Placer Mining Corporation




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                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that on the 12th day of December, 2024, I filed the foregoing
electronically through the CM/ECF system, which caused the following parties or counsel to be
served by electronic means, as more fully reflected on the Notice of Electronic Filing:

              Wade C. Foster        wade.foster@stoel.com
              Maren R. Norton       maren.norton@stoel.com
              James T. Graves       james@gravesenvirolaw.com
              Preston Carter        prestoncarter@givenspursley.com

        I FURTHER CERTIFY that on the 12th day of December, 2024, I served the foregoing
via electronic mail to the following.

              Sean T. James         sean.james@stoel.com



                                           /s/Christopher C. McCurdy
                                           Christopher C. McCurdy for Holland & Hart LLP
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